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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

 IN RE APPLICATION OF THE NEW
 YORK TIMES CO. AND CHARLIE
 SAVAGE FOR ACCESS TO CERTAIN
 DOCKETS, ORDERS, LEGAL                              Miscellaneous Case No. 22-100 (BAH)
 BRIEFING, AND ARGUMENT
 TRANSCRIPTS ANCILLARY TO                            (consolidated with No. 22-104)
 JANUARY 6 GRAND JURY
 PROCEEDINGS


                                      NOTICE OF FILING

       The United States, by and through its attorneys, hereby gives notice that, on November 15,

2022, it moved for leave to file under seal and ex parte (1) its response to the consolidated

Application of the New York Times Co. and Charlie Savage for Access to Certain Dockets, Orders,

Legal Briefing, and Argument Transcripts Ancillary to January 6 Grand Jury Proceedings and

Application of Politico and Kyle Cheney to Unseal All Documents Related to the January 6 Grand

Jury Investigation; (2) the Motion for Leave to File Under Seal; and (3) any order on the Motion.

       Filing under seal and ex parte is appropriate here because the United States’ filing responds

to requests concerning an alleged grand jury investigation. The United States is obligated to

neither confirm nor deny any such investigation. See Fed. R. Crim. P. 6(e); see also, e.g., In re

North, 16 F.3d 1234, 1245 (D.C. Cir. 1994) (“when the media reports information alleged to be

grand jury material, ‘the government is obligated to stand silent’ and not confirm the information,

whether it is accurate or not” (citation omitted)). Disclosing any part of the United States’ filing

would necessarily have that effect.


Dated: November 15, 2022                             Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General
                                                     Civil Division
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                                ELIZABETH J. SHAPIRO
                                Deputy Director
                                Civil Division, Federal Programs Branch

                                /s/ Leslie Cooper Vigen
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